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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

American Federation of State,
County and Municipal Employees,
Council 25, as an organization, and
representative of its members,                         Case#
Catherine Phillips, and                                Hon. Judge
Charles Williams

      Plaintiffs,

V

Terri Lynn Land,
Michigan Secretary of State,
and Christopher M. Thomas, Director of
Bureau of Elections, in their official capacities,

     Defendants.
______________________________________________________________________/

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_____________________________________________________________________/

                       PLAINTIFFS’ COMPLAINT
                    FOR DECLARATORY JUDGMENT
                       AND INJUNCTIVE RELIEF




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   NOW COME the Plaintiffs, by and through their attorneys, and for their complaint

state as follows:

   1. This action arises under Voting Right Acts 42 U.S.C. § 1971, as amended, and

       42 USCS § 1973 as amended, the First, Fifth, Fourteenth and Fifteenth

       Amendments to the Constitution of the United States.

   2. It seeks a declaratory judgment that the Defendants’ interpretation and

       application of its interpretation of MCL 168.744 is in violation of MCL 168.744, 42

       U.S.C. § 1971, as amended, 42 U.S.C. § 1973 as amended, the First, Fifth,

       Fourteenth and Fifteenth Amendments; and preliminary and permanent

       injunctions against the application and enforcement of Defendants’ interpretation

       of the Act.

   3. Jurisdiction is conferred on this Court by Title 28 USCS §§ 1343(3) and (4), 2201

       and 2202, and by U.S.C. §§ 1971 (d) and 1973 (j)(f); and Title 42 USCS 1983.

   4. Private litigants may enforce their rights under 42 U.S.C. § 1971 and 42 USCS §

       1973 by bringing a suit under 42 U.S.C. § 1983.

   5. 42 U.S.C. § 1983 authorizes suits for the deprivation of a right secured by the

       Constitution or the laws of United States caused by a person acting under the

       color of state law.

   6. Plaintiff AFSCME Council 25 is a labor union located within the State of

       Michigan, with over 90,000 members throughout the State of Michigan.

   7. Plaintiff AFSCME Council 25 brings this cause of action as an organization, and

       representative of its members.




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 8. The majority of Plaintiff’s members are qualified electors throughout the State of

    Michigan.

 9. Many of Plaintiff’s members are ethnic minorities, including, but not limited to

    African American, and Hispanic.

 10. Plaintiff, AFSCME Council 25 members have obtained buttons and shirts

    evidencing issues of concern, support for various issues and admiration for

    various candidates, some of which will appear on the November 4, 2008 ballot.

 11. It is the intent of the members of Plaintiff, AFSCME Council 25 to wear the

    buttons and shirts, at the voting polls, while in line waiting to vote, and while

    voting.

 12. Plaintiff Catherine Phillips is an African American, resident of Wayne County

    Michigan, registered voter, and member of AFSCME Council 25.

 13. Plaintiff Charles Williams is an African American, resident of Wayne County

    Michigan, registered voter, and member of AFSCME Council 25.

 14. Both Plaintiffs Phillips and Williams intend to wear buttons and shirts that will

    evidence their support of particular issues and/or candidates, at the voting polls,

    while in line waiting to vote, and while voting on November 4, 2008.

 15. The wearing of buttons and shirts by the Plaintiffs is constitutionally protected

    speech, involving matters of public concern.

 16. Defendant Terri Lynn Land (Land) is the duly elected Michigan Secretary of

    State.

 17. Defendant Land is sued in her official capacity as Secretary of State of the State

    of Michigan.



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 18. Defendant Land’s official residence is the Treasury Building, 1st Floor, 430 West

    Allegan, Lansing, MI 48918.

 19. In her capacity as Secretary of State, Defendant Land is the chief election officer

    of the state and has supervisory control over local election officials.

 20. In accordance with MCL 168.31, the Michigan Secretary of State is charged with

    election duties inclusive of but not limited to:


          (a) Issue instructions and promulgate rules for the conduct of
          elections and registrations in accordance with the laws of this
          state.

          (b) Advise and direct local election officials as to the proper
          methods of conducting elections.

          (c) Publish and furnish for the use in each election precinct
          before each state primary and election a manual of instructions
          that includes specific instructions on assisting voters in casting
          their ballots, directions on the location of voting stations in
          polling places, procedures and forms for processing
          challenges, and procedures on prohibiting campaigning in the
          polling places.

          (d) Publish indexed pamphlet copies of the registration,
          primary, and election laws and furnish to the various county,
          city, township, and village clerks a sufficient number of copies
          for their own use and to enable them to include 1 copy with the
          election supplies furnished each precinct board of election
          inspectors under their respective jurisdictions.

          (e) Prescribe and require uniform forms, notices, and supplies
          the secretary of state considers advisable for use in the
          conduct of elections and registrations.

          (f) Establish a curriculum for comprehensive training and
          accreditation of all county, city, township, village, and school
          elections officials.

          (g) Establish and require attendance by all new appointed or
          elected election officials at an initial course of instruction within
          6 months before the date of the election.


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          (h) Establish a comprehensive training curriculum for all
          precinct inspectors.

 21. Defendant Christopher M. Thomas (Thomas) is the Director of the Bureau of

    Elections.

 22. Defendant Thomas is sued in his official capacity as Director of Elections for the

    State of Michigan.

 23. Defendant Thomas’ official residence is the Treasury Building, 1st Floor, 430

    West Allegan, Lansing, MI 48918.

 24. Defendant Thomas is vested with the powers of the Secretary of State with

    respect to elections and is responsible for the supervision and administration of

    the election laws, under the supervision of the Secretary of State.

 25. The Bureau of Elections is a subdivision of the Michigan Secretary of State

    office.

 26. Specifically, concerning the Bureau of Elections, MCL 168.32 states in part:

          There is hereby continued in the office of the secretary of state
          the bureau of elections created by Act No. 65 of the Public Acts
          of 1951, under the supervision of a director of elections, to be
          appointed by the secretary of state under civil service
          regulations. The director of elections shall be vested with the
          powers and shall perform the duties of the secretary of state
          under his supervision, with respect to the supervision and
          administration of the election laws.

 27. The claims set forth in this Complaint are brought against both Land and Thomas

    (collectively referred to as Defendants) in their official capacities.

 28. MCL 168.744, delineates the following prohibited acts concerning any election

    within the State of Michigan:




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         (1) An election inspector or any other person in the polling room
         or in a compartment connected to the polling room or within
         100 feet from any entrance to the building in which the polling
         place is located shall not persuade or endeavor to persuade a
         person to vote for or against any particular candidate or party
         ticket, or for or against any ballot question that is being voted
         on at the election. A person shall not place or distribute
         stickers, other than stickers provided by the election officials
         pursuant to law, in the polling room or in a compartment
         connected to the polling room or within 100 feet from any
         entrance to the building in which the polling place is located.

         (2) A person shall not solicit donations, gifts, contributions,
         purchase of tickets, or similar demands, or request or obtain
         signatures on petitions in the polling room or in a compartment
         connected to the polling room or within 100 feet from any
         entrance to the building in which the polling place is located.

         (3) On election day, a person shall not post, display, or
         distribute in a polling place, in any hallway used by voters to
         enter or exit a polling place, or within 100 feet of an entrance to
         a building in which a polling place is located any material that
         directly or indirectly makes reference to an election, a
         candidate, or a ballot question. This subsection does not apply
         to official material that is required by law to be posted,
         displayed, or distributed in a polling place on election day.

         (4) A person who violates this section is guilty of a
         misdemeanor.

 29. Within the Michigan Department of State, Bureau of Elections, Election Inspector

    Training Coordinator Accreditation Workshop Manual, the Defendants give the

    following directions to Election Inspectors:


          Election Inspectors have the right to ask voters entering the
         polls to remove campaign buttons or cover up clothing bearing
         a campaign slogan or a candidate’s name.
                                      ***
         If a person persists in violating any of the above restrictions,
         contact the clerk or, if necessary, local law enforcement
         authorities. See Exhibit 1.




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 30. Based upon information and belief, Defendants have misinterpreted the

    prohibited acts as delineated in MCL 168.744 to prohibit the wearing of

    “campaign buttons, or clothing bearing a campaign slogan or a candidate’s

    name”.

 31. In that the Defendants give Election Inspectors the arbitrary “right to ask voters

    [at their discretion] to remove campaign buttons or cover up clothing bearing a

    campaign slogan or candidate’s name”, the possibility exist that such authority

    will be used in a arbitrary, discriminatory and/or inconsistent manner, resulting in

    an abridgement and/or denial of Plaintiffs AFSCME Council 25 members,

    Phillips, Williams, and others similarly situated of the right to vote.

 32. The directive given by the Defendants to Election Inspectors violates the

    constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

    Williams, and others similarly situated in that it intimidates, threatens or coerces

    persons for urging a person to vote, and intimidates, threatens or coerces

    persons for exercising powers and/or duties under the Voting Right Acts as

    amended, and the First, Fifth, Fourteenth, and Fifteenth Amendments to the

    Constitution.

 33. The directive given by the Defendants to Election Inspectors violates the

    constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

    Williams, and others similarly situated in that it gives Election Inspectors the

    “right to [arbitrarily] ask voters entering the polls to remove campaign buttons or

    cover up clothing bearing a campaign slogan or a candidate’s name;” and thus

    denies the Plaintiffs of the equal protection of the law.



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 34. The directive given by the Defendants to Election Inspectors violates the

    constitutional, civil and voting rights of Plaintiffs AFSCME Council 25, Phillips,

    Williams, and others similarly situated in that it directs Election Inspectors to

    request law enforcement assistance to enforce the deprivation of the

    constitutional, civil, and voting rights of the Plaintiffs.

 35. Based upon information and belief, the directive given to Election Inspectors by

    the Defendants is as a result of the Defendants’ misinterpretation and/or

    misapplication of MCL 168.744.

 36. Under these facts, there is an actual controversy between the parties, and a

    multiplicity of litigation will be avoided if all of these issues are determined by this

    court at one time.

 37. This court has jurisdiction to adjudicate the matters at issue and enter its

    judgment declaring the rights of all parties to this action.

 38. It is necessary for this court to adjudicate and declare the rights of the parties to

    this action to guide Plaintiffs’ future conduct and preserve their legal rights.


                                           Count I
                                  Violation of MCL 168.744

 39. Plaintiffs hereby incorporate by reference paragraphs 1 through 38.

 40. MCL 168.744 prohibits the following acts during an election within the State of

    Michigan:


          (1) An election inspector or any other person in the polling room
          or in a compartment connected to the polling room or within
          100 feet from any entrance to the building in which the polling
          place is located shall not persuade or endeavor to persuade a
          person to vote for or against any particular candidate or party
          ticket, or for or against any ballot question that is being voted

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         on at the election. A person shall not place or distribute
         stickers, other than stickers provided by the election officials
         pursuant to law, in the polling room or in a compartment
         connected to the polling room or within 100 feet from any
         entrance to the building in which the polling place is located.

         (2) A person shall not solicit donations, gifts, contributions,
         purchase of tickets, or similar demands, or request or obtain
         signatures on petitions in the polling room or in a compartment
         connected to the polling room or within 100 feet from any
         entrance to the building in which the polling place is located.

         (3) On election day, a person shall not post, display, or
         distribute in a polling place, in any hallway used by voters to
         enter or exit a polling place, or within 100 feet of an entrance to
         a building in which a polling place is located any material that
         directly or indirectly makes reference to an election, a
         candidate, or a ballot question. This subsection does not apply
         to official material that is required by law to be posted,
         displayed, or distributed in a polling place on election day.

         (4) A person who violates this section is guilty of a
         misdemeanor.

 41. Based upon information and belief, Defendants have misinterpreted the

    prohibited acts as delineated in MCL 168.744 to prohibit the wearing of

    “campaign buttons, or clothing bearing a campaign slogan or a candidate’s

    name”.

 42. Within the Michigan Department of State, Bureau of Elections, Election Inspector

    Training Coordinator Accreditation Workshop Manual, the Defendants give the

    following directions to Election Inspectors:


          Election Inspectors have the right to ask voters entering the
         polls to remove campaign buttons or cover up clothing bearing
         a campaign slogan or a candidate’s name.
                                      ***
         If a person persists in violating any of the above restrictions,
         contact the clerk or, if necessary, local law enforcement
         authorities. See Exhibit 1.


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   43. The directions given to the Election Inspectors is in violation of MCL 168.744 and

      breaches a duty owed to Plaintiffs to only prohibit the persuading or endeavoring

      to persuade a person to vote for or against a particular candidate or party ticket,

      or for or against a ballot question.

   44. MCL 168.744 does not prohibit the mere wearing of campaign buttons or clothing

      bearing a campaign slogan or a candidate’s name.

   45. The simple wearing of campaign buttons or clothing bearing a campaign slogan

      or a candidate’s name does not constitute persuading or endeavoring to

      persuade a person to vote for or against a particular candidate or party ticket, or

      for or against a ballot question.

   46. Notwithstanding said duties and in willful violation thereof, the Defendants have

      violated the Michigan statutory, constitutional, voting and civil rights of Plaintiffs

      as herein.

   47. As a direct and proximate result of the Defendants’ violations as described

      above, Plaintiffs AFSCME Council 25 members, Phillips, and Williams have

      suffered and will continue to suffer the abridging or denial of the right to vote in

      the November 2008 election.


                                           Count II
                                Violation of Voting Right Acts
                            42 U.S.C. § 1971 and 42 U.S.C. § 1973

   48. Plaintiffs hereby incorporate by reference paragraphs 1 through 47.

   49. At all times relevant hereto, Plaintiffs and Defendants were subject to the Voting

      Right Acts as amended 42 U.S.C. § 1971 and 42 U.S.C. § 1973.




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   50. The acts of Defendants as described above are in violation of Plaintiffs’ rights

      under 42 U.S.C. § 1971 and 42 U.S.C. § 1973.

   51. Under 42 U.S.C. § 1971, Defendants have a duty in determining whether any

      individual is qualified under State law or laws to vote in any election, not to apply

      any standard, practice, or procedure different from the standards, practices or

      procedures applied under such law or laws to other individuals within the same

      county, parish, or similar political subdivision who have been found by State

      officials to be qualified to vote.

   52. Under 42 U.S.C. § 1973, Defendants have a duty not to impose or apply any

      qualification or prerequisite to voting which results in a denial or abridgement of

      the right of any citizen of the United States to vote on account of race or color, or

      in contravention of the guarantees set forth by the statute.

   53. Under 42 U.S.C. § 1973, Defendants have a duty not to fail or refuse to permit

      any person to vote who is entitled to vote under any provision of the statute, or is

      otherwise qualified to vote, or willfully fail or refuse to tabulate, count, and report

      such person’s vote.

   54. Under 42 U.S.C. § 1973, Defendants have a duty not to intimidate, threaten or

      coerce any person for urging or aiding any person to vote, or intimidate, threaten

      or coerce any person for exercising any powers or duties under the Acts.

   55. Notwithstanding said duties and in willful violation thereof, the Defendants have

      violated the constitutional, voting and civil rights of Plaintiffs as delineated herein.

   56. As a direct and proximate result of the Defendants’ violations as described

      above, Plaintiffs AFSCME Council 25 members, Phillips, and Williams have



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      suffered and will continue to suffer the abridging or denial of the right to vote in

      the November 2008 election.



                                        Count III
                    Violation of Freedom of Expression, Association,
                            Due Process and Equal Protection

   57. Plaintiff hereby incorporates by reference paragraphs 1 through 56.

   58. At all times relevant hereto, Defendants were acting in their respective capacities

      as stated herein, under color of the law of the State of Michigan, and subject to

      this Court’s jurisdiction.

   59. Plaintiffs have been subjected because of the recited acts, to deprivation by the

      Defendants, under color of law, and the customs and usages of the state of

      Michigan, of rights, privileges, and immunities secured by the Constitution and

      Laws of the United States, and particularly rights to vote, association, speech,

      due process and equal protection of the laws guaranteed Under the First, Fifth,

      Fourteenth, and Fifteenth Amendments to the U.S. Constitution.

   60. As a direct and proximate result of the Defendants’ violations as described

      above, Plaintiffs AFSCME Council 25 members, Phillips, and Williams have

      suffered and will continue to suffer the abridging or denial of the right to vote in

      the November 2008 election.


                                         COUNT IV
                                   Preliminary Injunction

   61. Plaintiff hereby incorporates by reference paragraphs 1 through 60.

   62. Plaintiffs have a strong likelihood of success on Counts I through III of this

      Complaint.

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   63. Absent a preliminary injunction, Plaintiffs will be immediately and irreparably

      harmed in that Plaintiffs and others will have their right to vote abridged and/or

      denied.

   64. Absent a preliminary injunction, the harm to Plaintiffs is substantial; in contrast,

      any harm to Defendants is minor at best.

   65. The public interest weighs strongly in favor of letting every qualified resident of

      Michigan vote free of intimidation, coercion, or harassment.


                                       COUNT V
                                 Permanent Injunction

   66. Plaintiff hereby incorporates by reference paragraphs 1 through 65.

   67. Plaintiffs have a strong likelihood of success on Counts I through IV of this

      Complaint.

   68. Absent a permanent injunction, Plaintiffs will be immediately and irreparably

      harmed in that Plaintiffs and others will have their right to vote abridged and/or

      denied.

   69. Absent a permanent injunction, the harm to Plaintiffs is substantial; in contrast,

      any harm to Defendants is minor at best.

   70. The public interest weighs strongly in favor of letting every qualified resident of

      Michigan vote free of intimidation, coercion, or harassment.


                                          COUNT VI
                                    Declaratory Judgment

   71. Plaintiff hereby incorporates by reference paragraphs 1 through 70.




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   72. Pursuant to 28 U.S.C. § 2201(a), this Court “may declare the rights and other

      legal relations of any interested party seeking such declaration whether or not

      further relief is or could be sought”.

   73. Any such declaration shall have the force and effect of a final judgment or decree

      and shall be reviewable as such. See 28 U.S.C. § 2201(a).

   74. Under the facts as delineated herein, there is an actual controversy between the

      parties, and a multiplicity of litigation will be avoided if all of these issues are

      determined by this court at one time.

   75. This court has jurisdiction to adjudicate the matters at issue and enter its

      judgment declaring the rights of all parties to this action.

   76. It is necessary for this court to adjudicate and declare the rights of the parties to

      this action to guide Plaintiffs’ future conduct and preserve their legal rights.


   WHEREFORE, Plaintiffs pray that:

      1. This Court declare that the Defendants’ interpretation and application of MCL

          168.744 as delineated in Defendants’ directive to Election Inspectors, as

          found in the Michigan Department of State, Bureau of Elections, Election

          Inspector Training Coordinator Accreditation Workshop Manual is in violation

          MCL 168.744, the Voting Right Acts (Title 42 USCS § 1971 and 42 USCS §

          1973), the First, Fifth, Fourteenth and Fifteenth Amendments to the

          Constitution of the United States and therefore void.

      2. This Court issue preliminary and permanent injunctions enjoining Defendants,

          their agents, employees, successors and all persons in active concert and

          participation with them from enforcing, implementing or otherwise giving effect


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        to the Defendants’ directive to Election Inspectors that; “Election Inspectors

        have the right to ask voters entering the polls to remove campaign buttons or

        cover up clothing bearing a campaign slogan or a candidate’s name. . . If a

        person persists in violating any of the above restrictions, contact the clerk or,

        if necessary, local law enforcement authorities”.

     3. This Court grant Plaintiffs such other and further relief as to the Court may

        deem just and proper, together with cost and attorney fees.




Date: ________________                         Respectfully submitted,



                                               __________________________
                                               Herbert A. Sanders
                                               Attorney for the Plaintiffs




                                               _______________________________
                                               Aina N. Watkins
                                               Attorney for the Plaintiff AFSCME only.




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